                  Case
   AO 247 (02/08) Order   6:06-cr-00026-JRH-CLR
                        Regarding Motion for Sentence Reduction   Document 851 Filed 09/23/08 Page 1 of 1

                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Southern District of Georgia
                                                              Statesboro Division
                    United Stales of America                           )                                            '   1




                            Samuel Brown                                             CR606MOO26O 15                         _______

 Date of Previous Judgment: December 10, 2007                          ) Toni A. Edenfield
 (Use Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

         Upon motion of        the defendant Uthe Director of the Bureau of Prisons Ljthe court under 18 U.S.C.
 § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
 subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
 § 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        J DENIED.       GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of           months is reduced to
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                       21                          Amended Offense Level:           21
Criminal History Category:                     I                          Criminal History Category: ____________
Previous Guideline Range: 37                     to 46 months             Amended Guideline Range: 37 to 46       months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
U Other (explain):



III. ADDITIONAL            COMMENTS
The defendant's offense level was not determined based on quantities of cocaine base. Rather, the defendant's
offense level was determined based on quantities of cocaine hydrochloride. As such, he is not eligible for a reduction
in sentence.


Except as provided above, all provisions of the judgment dated December10, 2007, shall remain in effect.
IT IS SO ORDERED.

Order Date
                                                                         /'TZiatu

                                                                         B. Avant Edenfield
Effective Date:                                                          United States District Judge
                                                                         For the Southern District of Georgia
                    (if different from order date)                                         Printed name and title
